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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                    )
 DYSON, INC. and                                    )
 DYSON TECHNOLOGY LIMITED,                          )
                                                    )
                Plaintiffs,                         )   Case No. 14-cv-779
                                                    )
         v.                                         )   Judge John W. Darrah
                                                    )
 SHARKNINJA OPERATING LLC and                       )   JURY TRIAL DEMANDED
 SHARKNINJA SALES COMPANY,                          )
                                                    )
                Defendants.                         )
                                                    )

                         NOTICE OF PRESENTMENT OF MOTION

       PLEASE TAKE NOTICE that, on Tuesday, August 2, at 9:30 a.m., or at such time as is

convenient for the Court, Defendants SharkNinja Operating LLC and SharkNinja Sales

Company (collectively “SharkNinja”) shall appear before the Honorable John W. Darrah or any

judge who may be sitting in his stead in Courtroom 1203, U.S. Courthouse, 219 S. Dearborn

St., Chicago, Illinois 60604, and shall then and there present its motion for leave to file a motion

for letters of request for the depositions of certain individuals in the United Kingdom,

Singapore, and Denmark (Dkt. 235).



Dated: July 15, 2016                               /s/ John C. Evans
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                                         Company




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                                  CERTIFICATE OF SERVICE

          The undersigned attorney hereby certifies that on July 15, 2016, a true and correct copy

of the foregoing was filed electronically with the Clerk of the Court and was served via the

Court’s CM/ECF System which will automatically provide electronic notice upon all counsel of

record.

                                        /s/ John C. Evans
